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IN THE UNITE]) STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL

FOUNDATION,
Plaintiff,

V. : NO. 1:18-CV-00463
ROBERT TORRES, in his official : CHIEF JUDGE CONNER
Capacity as Acting Secretary of the ,

Commonwealth of Pennsylvania, and : ELECTRONICALLY FILED

JONATHAN M. MARKS, in his official
Capacity as the Commissioner of the
Bureau of Commissions, Elections and
Legislation,

Defendants.

 

DEFENDANTS’ REPLY MEMORANDUM IN FURTHER SUPPORT
OF M()TION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)

 

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INTRODUCTION

The National Voter Registration Act (“NVRA”) only permits public
inspection of records relating to mandatory list maintenance programs that remove
the names of voters Who have died or moved away. Plaintiff The Public lnterest
Legal Foundation, Inc. (“PILF”) is seeking something else: records relating to
non-citizens vvho may have inadvertently registered to vote as a result of a
technical “glitch” in the PennDOT l\/lotor Voter system. While the
Commonwealth is actively pursuing a remedy to address this problem, it has never
implemented any program or activity to systematically purge suspected non-
citizens from the voter rolls. Even if the NVRA vvere deemed to apply in these
circumstances-and it does not--there are no records to produce because there is
no such program or activity. Unwilling to accept this reality, PILF seeks in the
present action to compel the Commonvvealth to assemble and produce statutorily-
protected driver’s license records Which, in its opinion, may be used to investigate
the citizenship of registered voters. The NVRA imposes no such obligation and
both federal and state law prohibit the Commonvvealth from disclosing driver
license records. PILF fails as a matter of law to state any claim for relief and its

Complaint should be dismissed.

 

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ARGUMENT

I. PILF Fails To State a Claim for Relief Under the NVRA.

PILF’s Opposition Brief, like its Complaint, is based on the Hindamentally
incorrect premise that the public has a right to access information “affecting the
right to vote.” (Gpp’n Br. at l.) The NVRA affords no such right. PILF plainly

errs in suggesting otherwise

PILF argues that the public disclosure provision in 52 U.S.C. § 20507(1)
excludes only records relating to declinations to register to vote or to the identity of
voter registration agencies and therefore all other records affecting the right to vote
must be open to inspection (()pp’n Br. at 8.) This argument ignores the text and
purpose of the NVRA and cannot Withstand scrutiny. Contrary to PILF’s
assertion, the NVRA allows access only to “records concerning the implementation
of programs and activities conducted for the purpose of ensuring the accuracy and
currency of official lists of eligible voters.” 52 U.S.C. § 20507(i)(1). PlLF ignores
the express statutory prerequisite that, to be accessible, records must relate to “the
implementation” of list maintenance PILF also fails to recognize that list
maintenance in Pennsylvania is codified in 25 Pa. C.S.A. § 1901 Which notably

does not include any program or activity for systematic removal of non-citizens.

 

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Not surprisingly, PILF alleges no facts which plausibly suggest that the
Commonwealth implemented any program or activity for the purpose of removing
non-citizensl Even the purported “matching analysis” that PILF is seeking is, by
PlLF’s own admission, preliminary and review of that data by state officials is
ongoing See, e.g., Compl. 11 57 (“Defendant Torres explained that the Department
of State is continuing to investigate noncitizens presently registered to vote” and
that investigation “includes expert analysis”); see also Tr. of State Government
Committee Public Hearing, Oct. 25, 2017, at 15 (Commissioner Marks testified:
“ln terms of doing a match or doing a comparison between the two databases,
we’re reviewing that right now with our legal counsel to determine what options
are available to us to do a fair match, to do an accurate match or an accurate
comparison between the two databases.”); id. at 17 (“We are in the process of
doing that right now. As l said in my testimony, we are reviewing that with our
legal counsel to determine what options are available to us.”); see also Written
Testimony of Acting Secretary Torres at Public Hearing on Motor Voter, Unlawful
Voting & Cybersecurity, Dec. 12, 2017, at 2 (“The Department’s ongoing effort

includes expert analysis of the State Uniform Registry of Electors (SURE)

 

l PlLF misstates the allegations in its Complaint in asserting that Acting
Secretary Torres “conceded” that the Department of State “is conducting list
maintenance regarding noncitizens presently registered to vote.” (()pp’n Br. at
11.) As is clear from the actual testimony referenced in the Complaint, there was
no such concession.

 

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database and PennDOT’s driver license database. This analysis must be done
deliberately, and it must demonstrate a critical level of accuracy and sound
methodology that results in high-confidence matches, to avoid the risk of

disenfranchising eligible voters.”).2

At most, PILF’s Complaint alleges that the Department of State is engaged
in ongoing review of a problem that has not resulted in implementation of a
program or activity to cancel voter registrations of possible non-citizens. Indeed,
even if the NVRA applied to activities aimed at removing non-citizens_-and it
does not, as set forth below-there is no such program in Pennsylvania and

therefore nothing to make available for inspection.3

Contrary to PlLF’s assertion, the NVRA does not obligate states to
implement programs to investigate and remove suspected non-citizens or to make
investigatory materials available for public inspection ln fact, the section in which
the public inspection provision appears, 52 U.S.C. § 20507, does not reference

review of citizenship or removal for non-citizenship Rather, as the Third Circuit

 

2 The October 25, 2017 transcript and December 12, 2017 written testimony
are referenced in the Complaint and links to the transcript and testimony are
provided in the Complaint, (Compl. 1111 47-48, 55, 57), and therefore these materials
are properly considered in connection with this l\/lotion.

3 Moreover, Pennsylvania law limits voter-related information that may be
publicly disclosed and does not allow disclosure of voter registration numbers or
other information sought by PILF. See 25 Pa. C.S.A. § 1404.

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held in the ACRU case, this section only requires states to implement regular
programs to remove the names of voters who have died or moved away. See
Amerz'can Civz`l Rights Union v. Philadelphia City Comm ’rs, 872 F.3d 175, 182 (3d
Cir. 2017) (“A CRU”). Notwithstanding this statutory mandate, PILF argues that
public access should not be limited to list maintenance relating to death or change
of residence because those terms do not specifically appear in 52 U.S.C. §

205 07(i). (Opp’n Br. at 9.) The text and structure of the NVRA, however, make
clear that only records relating to these mandatory removal programs are required
to be made available for public inspection. The reference in § 205 07 (i) to
“programs and activities” can only be read as relating to the mandatory obligation
in § 20507(a)(4) to “conduct a general program . . . to remove the names of
ineligible voters . . . by reason of . . . death . . . or a change in . . . residence . . . .”
ln Pennsylvania, the list maintenance programs mandated by the NVRA are

outlined in 25 Pa. C.S.A. § 1901 and do not provide for systematic removal of

persons suspected of being non-citizens.4

 

4 PILF bases its statutory construction argument on Russello v. United States,
464 U.S. 16 (1983), but that case is not on point. The issue in Russello was
whether the word “interest” in the RICO forfeiture provision can be read as
applying only to “interests in an enterprise” when the reference to “enterprise”
appears in another section of statute but does not appear in the separate forfeiture
section. By contrast, the public disclosure provision in the NVRA appears in the
same section of the statute that requires states to implement programs to remove
the names of persons who have died or changed residence and uses the same

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Unable to point to any support for its position in the text of the NVRA, PILF
asserts that Project Vote involved “a similar challenge” and supports a right of
inspection here. (Opp’n Br. at 8.) Project Vote, however, is materially different
That case involved a request to inspect rejected voter registration applications The
Fourth Circuit concluded that the request was within the scope of the public
disclosure provision because Virginia law tasked Virginia election employees with
responsibility for reviewing the applications and assessing the applicants’
qualifications Project Vote/Votingfor America, Inc. v. Long, 682 F.3d 331, 335-
36 (4th Cir. 2012). In direct contrast to Project Vote, Pennsylvania law does not
task any election officials with specifically reviewing and assessing citizenship of
registered voters.5 Further, PILF is not seeking to access voter registration
applications or any records required by statute to be reviewed by state election

officials in performing list maintenance, but is instead seeking to compel

 

general language Similar language appearing in the same section of a statute is
required to be read the same way. See National Crea'it Union Aa’min. v. Fz'rst Nat’l
Bank & Trust Co., 522 U.S. 479, 501 (1998). Thus, the right of public inspection
of “programs” in § 205 07(i) necessarily applies to “programs” to purge voters who
have died or moved away which are required by § 205 07(a)(4) and further
described in § 20507(b), (c) and (d).

5 Of course, the Commonwealth is mindful of ensuring that only qualified
individuals cast ballots. As the Complaint recognizes, the Department of State is
conducting an investigation to address such concerns. See, e.g., Compl. 11 57.

Such investigation, however, is not a “program or activity” under the NVRA and is
not specifically required by Pennsylvania law.

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disclosure of preliminary results of a special investigation into a computer error.
Even if the Fourth Circuit’s interpretation of the NVRA in Project Vote were
applied rather than the different interpretation adopted by the Third Circuit in
ACRU, PILF nonetheless fails to state a claim because the records it is seeking are

not in any way analogous to the rejected voter applications at issue in Project Vote.

Finding no support in the statutory text or the caselaw, PILF argues that
disclosure is necessary to foster transparency and accountability in this “area of
constitutional importance.” (Opp’n Br. at 11-12.) It is agreed that maintaining the
integrity and security of our election systems is of paramount concern and
Defendants are committed to remedying the Motor Voter problem in a way that
does not disenfranchise eligible voters or deter eligible persons from exercising
their right to vote. But that is not the issue presented in the Complaint and Motion
To Dismiss. Rather, the issue is whether the NVRA requires the Commonwealth
to make records available for public inspection merely because they may shed light
on Whether persons are eligible to vote. The answer is clearly no. The records
sought by PILF are not used in Pennsylvania’s standard list maintenance programs
and are not required to made available under the NVRA. PILF thus fails to state a

claim for relief and its Complaint should be dismissed

 

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II. Federal and State Law Expressly Prohibit Disclosure of the
Records Sought bv PILF.

PlLF’s effort to compel disclosure of driver license records fails for the
alternative reason that disclosure of such records is prohibited by both federal and

state law. PlLF’s arguments to the contrary are without merit.6

PlLF is wrong in positing that citizenship-related data appearing in a driver

record is not protected by the Driver’s Privacy Protection Act (“DPPA”), 18

U.S.C. § 2721(a). (Opp’n Br. at 16-17.) The DPPA prohibits disclosure of
“personal information” which is defined as “information that identifies an
individual,” including “driver identification number[s].” 18 U.S.C. § 2725(3). The
identification numbers that PILF is seeking from driver license records_described
in the Complaint as “the data matching of PennDOT driver’s license numbers with
INS lndicators against driver’s license numbers of registered voters in the
statewide voter registration database,” (Compl. 11 66)--undeniably serve to identify

individuals and therefore the DPPA precludes disclosure of that information.

PlLF also errs in contending that the DPPA only binds PennDOT and does
not prohibit state election officials from disclosing driver license records. (Opp’n

Br. at 15.) The DPPA expressly prohibits other government agencies from re-

 

6 PILF attacks a straw man in accusing Defendants of taking the position that
any record with a nexus to a state motor vehicle agency is protected from
disclosure (Opp’n Br. at l5.) This is not Defendants’ position.

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disclosing driver license records for non-permitted uses. See 18 U.S.C. § 2721(0).
Equally without merit is PlLF’s argument that it has a right to access driver license
records under 18 U.S.C. § 2721(b)(l) which permits use by “any private person or
entity acting on behalf of a Federal, State, or local agency in carrying out its
functions.” PILF does not qualify for access under this subsection because it is not
acting on behalf of any government agency and is not carrying out any government
function. Nor can PILF claim a right of access as a “private attorney general.”
(Opp’n Br. at 16.) While private citizen suits to enforce the NVRA are permitted
in certain circumstances, 52 U.S.C. § 20510(b), nothing in the NVRA or DPPA
authorizes private citizens to access confidential driver’s license records for the
purpose of investigating whether non~citizens are registered to vote PlLF’s
attempt to bootstrap the citizen suit provision into a right to access confidential

driver records thus fails.

Blocked by the DPPA, PlLF tries to analogize this case to Reeal and Davz`s
where non-driver license records were deemed not to implicate the DPAA. In
Reea’, the United States District Court for the Eastern District of Virginia
determined that the DPPA did not apply to a request for records relating to voter
registrations that were canceled due to non-citizenship T he Public Interest Legal
Foana’atz`on, Inc. v. Reea’, No. 1:16-cv-01375 (E.D. Va., filed Jan. 27, 2017).

While it is not possible to discern the precise issue or the Court’s reasoning from

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the terse, two-paragraph order attached to PlLF’s Opposition Brief, the court
filings in Reea’ confirm that the only records required to be made available were
voter cancellation notices.7 The Grder in Reea’ did not reference or compel
production of driver’s license records like those sought by PILF in this case.
Similarly, in Davis, the Superior Court of Connecticut concluded that it was not a
violation of the DPPA to publish lists of names and addresses of owners of motor
vehicles and snowmobiles which were required to be maintained by municipal tax
inspectors and to be made available to the public. Davis v. Freea’om oflnfo.
Comm ’n, 47 Conn. Supp. 309, 790 A.2d 1188 (2001). Davis did not involve a
request to access driver license records. Neither Reecl nor Davz`s is remotely on
point or binding on this Court. See Surrick v. Kz`lll`on, 449 F.3d 520, 535 (3d Cir.
2006) (state court decisions do not bind federal courts with respect to federal law);

Threaa’gill v. Armstrong Worla’lna'us., Inc., 928 F.2d 1366, 1371 (3d Cir. 1991)

 

7 ln the Complaint filed in the l€eea1 case (obtained from PACER), PILF
sought access to “records showing individuals whose voter registrations have been
cancelled because they were determined to not be United States citizens.” Compl.
11 9, T he Public Interest Legal Founa’ation, Inc. v. Reea’, No. l:l6-cv-01375 (E.D.
Va., filed Oct. 31, 2016) (ECF No. 1). ln its brief in opposition to the defendant’s
motion to dismiss in Reeal, PILF reiterated that it was seeking access to “notices
mailed by a local election official to potential non-citizens on the registration rolls,
the dispositions of those election inquiries by an election official, and records of
cancellation of election registrations pursuant to those inquiries.” Br. in Opp’n to
l\/lot. To Dismiss at 8, The Public Interest Legal Foana’atz'on, Inc. v. Reea’, No.
1:16-cv-01375 (E.D. Va., filed Dec. 6, 2016) (ECF No. 12). Reea' did not involve
a request for driver license records and therefore Reed provides no support for
PlLF’s position in this case

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(“The doctrine of stare decisis does not compel one district court judge to follow

the decision of another.”).

No doubt recognizing the insurmountable obstacle posed by the DPPA, PlLF
argues in the alternative that it is not seeking driver’s license records but rather
voter registration records. (Opp’n Br. at 12~13.) This position is new. In both its
letters and Complaint, PlLF requests access to driver’s license records which
include driver’s license numbers and entries identifying persons as potential
noncitizens (“INS indicators”) and explains its intent to compare that information
to voter registration lists for the purpose of identifying persons who may be
noncitizens and thus ineligible to vote See, e.g., Oct. 23, 2017 Letter at 1
(attached to Compl. as Ex. H) (requesting “information obtained from . . . the
Pennsylvania Department of Transportation since January 1, 2006 . . .”); Nov. 4,
2017 Letter at 1 (attached to Compl. as Ex. l) (requesting “results (f`ull or interim)
from an aforementioned official ‘review’ of voter data compared against
PennDOT’s database of customers to identify voters with matching driver profiles .
. .”); Compl. 11 94 (“The requested records, including records related to the

Noncitizen l\/latching Analysis, . . . must be made available under the NVRA . . .

ll

 

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”). PlLF’s new claim that is not seeking to access driver’s license records is not

credible8

ln a last ditch effort to avoid dismissal, PILF argues that the DPPA could not
have been intended to limit public disclosure of driver’s license records for the
purpose of verifying voter eligibility because the NVRA was enacted after the
DPPA. (Opp’n Br. at 17-18.) This argument mixes apples and oranges. The
NVRA permits public inspection of a discrete category of records relating to
regular programs to remove the names of persons who have died or moved away
and the DPPA protects driver’s license records from disclosure for other than
specifically authorized uses. The driver’s license records that PILF is seeking do
not fall within the scope of the NVRA and are plainly protected from disclosure by
the DPPA. There is no inconsistency in the statutes. Likewise, contrary to PlLF’s

argument, there is no conflict between the DPPA or NVRA and Pennsylvania state

law which similarly prohibits disclosure of information relating to driving records.

 

8 To the extent PILF is suggesting in its brief that it is only seeking access to
cancellation records and communications With registrants and third parties
concerning cancellation of non-citizen registrations, (Opp’n Br. at 13), it has no
claim. As Commissioner l\/larks advised in response to PlLF’s request for records
(attached to Defs.’ Br. in Supp. of l\/lot. To Dismiss as Ex. A), the Commonwealth
does not have a systematic removal program regarding non-citizens and therefore
there are no documents responsive to PlLF’s request for such records.
Accordingly, if PILF is seeking only cancellation records, it should withdraw its
Complaint.

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75 Pa. C.S.A. § 6114(a); see also Aa’vancement Project v. Pennsylvania Dep 't of
Transp., 60 A.3d 891, 895 (Pa. Commw. Ct. 2013). PILF’s effort to imagine a

conflict is without merit.9

PILF is barred by both federal and state law from accessing driver license

records and therefore fails to state a claim upon which relief can be granted.10
III. PILF Lacks Standing To Sue.

Unable to point to any statutory right of access to the requested information
or any actual injury, PILF contends that the mere denial of its request for records

confers standing under Article lll. This is not correct.

 

9 Again, the cases cited by PILF are not on point. ln Arz`zona v. later Tribal
Councz'l ofArizona, Inc., 570 U.S. l (2013), the issue was whether a state law
requiring voters to present documentary evidence of citizenship was preempted by
the Elections Clause in the United States Constitution and the NVRA which
required use of a particular voter registration form without separate proof of
citizenship There is no conflict between the NVRA which does not address driver
license records and Pennsylvania state law which prohibits disclosure of such
records. The issue in Ex Parte Siebola’, 100 U.S. 371 (1879), was whether state
officials could be prosecuted in federal court for violating federal laws that
incorporate state election regulations. No such dual prosecution is presented here

10 Parenthetically, it is important to clarify that a person’s current citizenship
status is not maintained in a driver license record While some records may
include references to citizenship status at the time drivers present at PennDOT,
there is no obligation to update this reference as citizenship status changes.

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To show standing, it is not enough for an organization to assert that it
requested and was denied access to agency records. Rather, a litigant must
demonstrate that it has a statutory right to the information sought and that denial of
access to the information caused concrete and particularized harm. See F ederal
Election Comm ’n v. Ala`ns, 524 U.S. 11, 21-24 (1998); Havens Really Corp. v.

Coleman, 455 U.S. 363, 379 (1982). PILF makes no such showing.

First, there is no statutory obligation to make the requested information
available for public inspection. As detailed above and in Defendants’ opening
brief, neither the NVRA nor state law require Pennsylvania to implement a
program to systematically remove non-citizens from the voting rolls. And even if
the NVRA were deemed to apply to programs aimed at removing non-citizens, the
Commonwealth does not have any such program. PILF thus fails to identify any
information in the Commonwealth’s possession to which it has a legal right of

BCCCSS.

Second, PILF fails to demonstrate any injury in fact. lt seeks information
concerning registrants’ citizenship status for the purpose of “assess[ing],
monitor[ing], and attempt[ing] to remedy [the] Secretary’s list maintenance
activities.” (Opp’n Br. at 21 .) Such a hypothetical, abstract interest in making sure
that the law is followed does not confer standing Lajan v. Defenders of Wila’life,

504 U.S. 555, 573 (1992). PILF argues in the alternative that it “incurred
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significant costs in attempting to access the requested records, including two visits
to the Secretary’s office.” (Opp’n Br. at 20-21.) This argument is also a non-
starter. Litigation-related expenses, including costs incurred in investigating an
alleged violation, do not qualify as an injury in fact. See Fair Hous. Council of

Sal)arban Phila. v. Montgomerjy Newspapers, 141 F.3d 71, 78-79 (3d Cir. 1998).

Put simply, PILF fails to point to any statute requiring disclosure of any
“matching analysis” and denial of access to such information caused no injury to

PILF. PILF therefore lacks standingll
IV. PILF Failed To Provide Notice chuired by the NVRA.

PILF does not dispute that it failed to direct notice of any alleged violation
to Acting Secretary Torres as required by 52 U.S.C. § 20510(b)(1). For this

reason, the Complaint should be dismissed

 

11 The cases cited by PILF do not address the issues presented here and
therefore do not apply. For example, in Jua’icial Watch, Inc. v. King, 993 F. Supp.
2d 919 (S.D. lnd. 2012), the plaintiff asserted associational standing on behalf of
its members who were registered voters and there was no challenge to standing
with respect to the records claim. PILF has not invoked and cannot invoke
associational standing in this case ln Project Vote/Votz`ngfor America, Inc. v.
Long, 752 F. Supp. 2d 697 (E.D. Va. 2010), the plaintiff was a non-profit
organization questioning the rejection of voter registration applications submitted
by students at a historically African-American university. PILF has no such
concrete and particularized interest in the records that it is seeking.

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CONCLUSION

For the reasons set forth above and in Defendants’ opening brief, PILF fails

as a matter of law to state any claim upon which relief can be granted and lacks

standing to sue The Complaint should therefore be dismissed

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Dated: May 2, 2018

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Respectfully submitted,

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Acting Secretary Robert Torres and
Commissioner Jonathan 1\/1. Marks

 

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CERTIFICATE OF SERVICE

l, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing
Reply Mernorandum in Further Support of Motion To Dismiss was served upon
the following counsel of record via the Court’s ECF system on this 2nd day of

l\/lay, 2018:

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